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               Exhibit A
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                                                                                               FILED
                                                                                        Superior Court of California
                                        1   BRUCE A. HARLAND,Bar No. 230477                 County of Riverside
                                            WILLIAM T. HANLEY,Bar NO. 327126
                                       2    WEINBERG;ROGER & ROSENFELD                             8/20/2020
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                                            SERVICE EMPLOYEES INTERNATIONAL UNION — UNITED
                                       8:   HEALTHCARE WORKERS WEST

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                                                             SUPERIOR COURT OF THE STATE OF CALIFORNIA
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                                                                  IN AND FOR THE COUNTY OF RIVERSIDE
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                                      12    SERVICE EMPLOYEES INTERNATIONAL
                                            UNION —IJNITED HEALTHCARt
                                                                                     caseN0 RIC2003273
                                      13    WORKERS WEST; VANESSA
                                            MONDRAGON; GLADYS REYES; RAY             COMPLAINT FOR DAMAGES
                                      14    VALDIVIA; VANESSA CAMPOS
                                            VILLALOBOS,                              1. PUBLIC NUISANCE;
                                      15                                             2. UNFAIR AND UNLAWFUL
                                                                                        BUSINESS PRACTICES;
                                      16                                             3. NEGLIGENCE;
                                                   V.                                4. NEGLIGENT INFLICTION OF
                                      17                                                EMOTIONAL DISTRESS; AND
                                            HCA HEALTHCARE; SAMUEL N.                5. DECLARATORY JUDGMENT
                                      18:   HAZEN,CEO OF HCA HEALTHCARE;
                                            RIVERSIDE HEALTHCARE SYSTEM L.P.
                                      19    d/b/a RIVERSIDE COMMUNITY
                                            HOSPITAL;'JACKIE DeSOUZA-VAN
                                      20    BLARICUM,CEO OF RIVERSIDE
                                            COMMUNITY HOSPITAL,                      Jury Trial Demanded
                                      2.1
                                                                       Defendants.
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                                          1                                                INTRODUCTION
                                         2
                                                      1.      Plaintiff Service Employees International Union — United Healthcare Workers
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                                               West("SEIU-UHW" or "Union"), acting on behalf of its members, and Plaintiffs Vanessa
                                         4
                                               Mondragon, Gladys Reyes, Ray Valdivia, and Vanessa Campos Villalobos (collectively,
                                         5    "Plaintiffs") bring this action against HCA Healthcare("HCA"), HCA's Chief Executive Officer,
                                         6
                                              Samuel N. Hazen, Riverside Healthcare System L.P. d/b/a Riverside Community Hospital
                                         7
                                              ("RCH"), and RCH's Chief Executive Officer Jackie DeSouza-Van Blaricum (collectively,
                                         8    "Defendants")for public nuisance, negligence, and related claims under state law. Defendants,
                                         9
                                              through knowing and reckless acts and omissions, have failed to take reasonable and necessary
                                         10
                                              precautions to protect their employees, patients, visitors, and the community from the harmful
                                         11
                                              effects of COVID-19,thereby facilitating the spread of the virus and putting the surrounding
                                         12
                                              community at an unnecessarily heightened risk of infection.
                                         13
                                                      2.      COVID-19 is a highly contagious infectious respiratory disease, caused by a novel
                                         14
                                              (or new)coronavirus that has not previously been seen in humans. Symptoms of COVID-19
                                         15
                                               include, but are not limited to, fever or chills; cough; shortness of breath; fatigue; muscle or body
                                         16
                                              aches; headache; loss of taste or smell; sore throat; and congestion or runny nose. More severe
                                         17
                                              symptoms include trouble breathing; persistent pain or pressure in the chest; confusion; inability
                                         18
                                              to wake or stay awake; and even death. COVID-19 can also cause severe long-term
                                         19
                                              complications, including damage to the heart, lungs, kidneys, and/or brain. (See
                                     20
                                              https://www.cdc.gov/coronavirus/2019-ncov/faq.html#Basics;
                                     21
                                              https://www.cdc.gov/coronavirus/2019-ncov/symptoms-testing/symptoms.html.)
                                     22
                                                      3.      The risk of contracting COVID-19 is particularly high in a hospital environment,
                                     23
                                               where employees(including three of the individual Plaintiffs) work in close proximity to patients
                                     24
                                              suffering from COVID-19. While all health care workers understand that some degree of risk is
                                     25
                                              inherent in their work, Defendants, through various actions and omissions, have created an
                                     26
                                              unnecessarily dangerous work environment for RCH employees during the COVID-19 pandemic,
                                     27
                                               which in turn has created dangerous conditions for patients, visitors, the community, and those
                                     28
                                               who live in the same household as HCA healthcare workers. These actions include, but are not
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                                         1   limited to, forcing employees to work without adequate personal protective equipment("PPE"),

                                        2    including masks, gowns, hairnets, gloves, and facial shields; forcing sick employees to work

                                        3    despite being symptomatic and highly contagious; and pressuring employees not to take

                                        4    reasonable and necessary precautions against exposure to COVID-19—such as frequent or

                                        5    effective sanitization of commonly used medical tools and commonly touched surfaces—ifsuch

                                        6    precautions would harm efficiency and/or productivity.

                                        7           4.      As stated above, this is an action for public nuisance, negligence, and other related

                                        8    claims. Plaintiffs include three(3)individuals who have contracted and suffered symptoms of

                                        9    COVID-19, and one individual whose mother tragically and unnecessarily died after battling the

                                        10   disease for several weeks. These individuals also believe they unknowingly spread the disease to

                                        11   family members or others in the community. Three of the Plaintiffs, as well as the mother of

                                        12   Plaintiff Vanessa Campos Villalobos, became sick while working at Riverside Community

                                        13   Hospital, owned and operated by HCA Healthcare. These individuals are members of SEIU-

                                        14   UHW and work in various job classifications at the Hospital, including Lab Assistant/

                                        15   Phlebotomist and Patient Safety Observer. Each of the individual Plaintiffs is a member of a

                                        16   racial minority group, making them statistically more likely to contract COVID-19,and more

                                        17   likely to suffer serious symptoms, including death.

                                        18          5.      Plaintiffs seek declaratory and compensatory relief to remedy Defendants' unsafe

                                        19   and unjustifiable treatment of RCH employees during the COVID-19 pandemic, as well as the

                                    20       effect of Defendants' actions and omissions on the greater community. In open disregard of the

                                    21       impacts of the virus on RCH employees, their family members, and those in the community with

                                    22       whom those employees and family members interacted, Defendants, in clear contradiction of their

                                    23       mandate and mission as an acute care hospital, facilitated the spread of COVID-19 among

                                    24       Plaintiffs and others in the community. Defendants' policies and practices, including the acts and

                                    25       omissions alleged herein, thereby created or substantially assisted in the creation of an actionable

                                    26       public nuisance under California Civil Code § 3480. This public nuisance caused substantial,

                                    27       life-threatening harms to the health and safety of Plaintiffs and others in the community. The

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                                            I   nuisance created by Defendants' policies and practices also led to the death of a worker from

                                           2    COVID-19, depriving her family of future economic and non-economic benefits.

                                           3           6.      These same actions and/or omissions also constitute negligence in violation of

                                           4    California Civil Code § 1714 with respect to Plaintiff Vanessa Campos Villalobos.

                                           5           7.      Since mid-May 2020, numerous workers at Riverside Community Hospital,

                                           6    including Plaintiffs Vanessa Mondragon, Gladys Reyes, and Ray Valdivia, as well as many

                                           7    family members of these individuals, have tested positive for COVID-19 or have exhibited

                                           8    symptoms consistent with the disease. Another employee of RCH,Sally Lara, the mother of

                                           9    Plaintiff Vanessa Campos Villalobos, died of COVID-19 after contracting the disease while

                                           10   working at RCH. Plaintiff Ray Valdivia, a Patient Safety Observer, was forced to work a shift at

                                           11   RCH while clearly exhibiting COVID-19 symptoms. Mr. Valdivia was pressured into working

                                           12   by hospital management despite explaining and demonstrating his persistent symptoms to the

                                           13   RCH Employee Health Department and his own supervisor. Mr. Valdivia tested positive for

                                           14   COVID-19 hours after finishing this shift and has been on medical leave ever since. Defendants'

                                           15   decision to force Mr. Valdivia to work, while clearly exhibiting symptoms of COVID-19, put

                                           16   countless employees, patients, visitors, and the community at unnecessary risk.

                                           17          8.      As of August 12, 2020, the California Department of Public Health reported

                                           18   27,493 confirmed positive cases of COVID-19 and 142 confirmed deaths among healthcare

                                           19   workers statewide. (See https://www.cdph.ca.gov/Programs/OPA/Pages/NR20-194.asux.)

                                       20       Supervisors and hospital management have a duty to mitigate the risks faced by their workers on

                                       21       a day-to-day basis, and not, as at RCH,facilitate the spread ofthe virus and place workers at

                                       22       additional, unnecessary risks.

                                       23              9.      The spread of COVID-19 among Plaintiffs, their families, and local community

                                       24       members is directly attributable to Defendants' failure to abide by public health

                                       25       recommendations. Defendants' specific actions include, but are not limited to:(1)instructing

                                       26       certain workers with COVID-19 symptoms to continue working even when obviously

                                           27   symptomatic and highly contagious;(2)failing to provide employees with sufficient and adequate

                                       28       personal protective equipment("PPE")such as face masks, gowns,face shields, and gloves;(3)
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                                          1   failing to provide PPE to certain other employees, namely Environmental Services("EVS")

                                         2    workers, despite these workers being tasked with cleaning the rooms and beds of patients

                                         3    suffering from COVID-19;(4) pressuring certain employees to ignore necessary safety

                                         4    precautions, such as sanitizing and cleaning commonly used equipment and commonly touched

                                         5    surfaces, for the sake of meeting artificial job-related "quotas";(5)failing to instruct symptomatic

                                         6    workers and co-workers who came into prolonged close contact with workers and/or patients

                                         7    suffering from COVID-19 to self-quarantine for at least 14 days; and (6) when workers have

                                         8    actually tested positive for COVID-19,failing to conduct basic contact tracing or providing

                                         9    timely or adequate notifications to co-workers who were in close contact and are thus at

                                         10   heightened risk of contracting COVID-19 and transmitting it to others.

                                         11          10.     Defendant HCA HEALTHCARE is an American for-profit operator of healthcare

                                         12   facilities with revenues of over $51 billion in 2019. Thus far during the COVID-19 pandemic,

                                         13   HCA has received $1.7 billion dollars in grants under the CARES Act.I HCA has also received

                                         14   an additional $4.3 billion dollars in loans from Medicare Accelerated and advance Payments.

                                         15 (See https://www.beckershospitalreview.com/finance/1-7b-in-cares-act-cash-went-to-hca.html,

                                         16   https://www.wsj.com/articles/hca-healthcare-profit-rises-on-federal-aid-returning-patients-

                                         17   11595446152; https://www.reuters.com/article/us-health-coronavirus-hospital-billions/billions-in-

                                         18   covid-relief-go-to-biggest-hospital-chains-as-smaller-rivals-await-aid-idUSKBN23G1GI.) The

                                         19   company has over 280,000 employees throughout the United States and United Kingdom. HCA

                                     20       Healthcare operates Riverside Community Hospital.

                                     21              1 1.    Defendant SAMUEL N. HAZEN is the Chief Executive Officer of HCA,

                                     22       overseeing 186 hospitals, plus more than 2,000 sites that include surgery centers, freestanding

                                     23       emergency rooms, urgent care centers, and physician clinics. Mr. Hazen became the CEO of

                                     24       HCA Healthcare on January 1, 2019, and was paid $26,788,251 million dollars in 2019.

                                     25              12.     Defendant RIVERSIDE HEALTHCARE SYSTEM L.P. d/b/a RIVERSIDE

                                     26       COMMUNITY HOSPITAL("RCH")is a full-service acute care hospital and emergency room

                                     27
                                                The bipartisan CARES Act and the Paycheck Protection Program and Health Care Enhancement •
                                     28       Act provided $175 billion in relief funds to hospitals and other healthcare providers on the front
                                              lihe Of the tOroriaVirus response.
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                                            1   located at 4445 Magnolia Ave, Riverside, California, owned and operated by HCA Healthcare.

                                           2    RCH has thus far received $13.5 million in grants under the CARES Act. (See

                                           3    https://data.cdc.gov/Administrative/Provider-Relief-Fund-COVID-19-High-Impact-

                                           4    Payments/b58h-s9zx.)

                                           5            13.    Defendant JACKIE DESOUZA-VAN BLARICUM is the Chief Executive Officer

                                           6    of RCH.

                                           7            14.    Plaintiffs seek declaratory, compensatory, and other statutorily available relief to

                                           8    protect them—and their family and community members—from further undue and unnecessary

                                           9    exposures to the COVID-19 virus and to compensate them for the harms they suffered and are

                                           10   continuing to suffer.

                                           11                                    JURISDICTION AND VENUE
                                           12           15.    The Superior Court of the State of California has jurisdiction in this matter because

                                           13   Defendants HCA and RCH regularly conduct business in California. No federal question is at

                                           14   issue in this lawsuit. Plaintiffs' claims are solely based upon California law.

                                           15           16.    Venue is proper in this judicial district and the County of Riverside, California

                                           16   because Plaintiffs Vanessa Mondragon, Gladys Reyes, Ray Valdivia, and Vanessa Campos-

                                           17   Villalobos each reside, performed work, or continue to perform work in the County of Riverside;

                                           18   because Defendant HCA and RCH maintains offices and facilities and transacts business in the

                                           19   County of Riverside; and because Defendants' wrongful conduct that is the subject of this action

                                       20       for public nuisance affects Plaintiffs and other persons similarly situated in the County of

                                       21       Riverside.

                                       22                                                   PARTIES
                                       23               17.    Sally Lara, the mother of Plaintiff Vanessa Campos Villalobos, was employed by

                                       24       Defendant HCA at RCH as a part-time Lab Assistant/Phlebotomist when the COVID-19

                                       25       pandemic first began infecting residents of Riverside County. Ms. Lara, who after becoming

                                       26       aware of the pandemic rarely left her house except to go to work, was exposed to COVID-19

                                       27       during a work shift at RCH on approximately May 9, 2020. Not at this time or at any other time

                                       28       did Defendants, or any employee or agent of Defendants, warn Ms. Lara—in writing or by other....
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                                         1   means—of potential exposure. During this shift and many previous shifts, Ms. Lara worked in

                                        2    close proximity to patients suffering from COVID-19, and came into prolonged contact with

                                        3    fellow employees who had been exposed to the virus. Ms. Lara thereafter tested positive for

                                        4    COVID-19 and began suffering severe symptoms, including difficulty breathing. She was placed

                                        5    on a ventilator for two weeks, and ultimately died on June 8, 2020.

                                        6           18.     This is a picture of Ms. Lara taken before she contracted COVID-19 and died from

                                        7    the disease:

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                                        15          19.     Plaintiff Vanessa Campos Villalobos is the daughter of Sally Lara. Ms. Campos
                                        16   Villalobos lived with her mother at the time Ms. Lara contracted COVID-19, and was herself
                                        17   unnecessarily exposed to the virus. Ms. Campos Villalobos therefore developed a reasonable fear
                                        18   of suffering COVID-19-related symptoms. Additionally, because of her mother's death, Ms.
                                        19   Campos Villalobos will lose out on future financial and emotional support.
                                    20              20.     Plaintiff Vanessa Mondragon is currently employed by Defendants as a Lab
                                    21       Assistant/ Phlebotomist at RCH. Ms. Mondragon was exposed to COVID-19 while working a
                                        22   shift at RCH in late June or early July 2020 when she came into prolonged contact with patients
                                    23       and fellow employees who were suffering from COVID-19. Not at this time or at any other time
                                    24       did Defendant HCA,or any employee or agent of Defendant HCA, warn Ms. Mondragon, in
                                    25       writing or by other means, of this exposure. Ms. Mondragon began experiencing symptoms of
                                    26       COVID-19 on July 2 or 3, while at work. She took a COVID-19 test on July 6, and received a
                                    27       positive result on July 13. Ms. Mondragon lives with her boyfriend, who has also suffered

                                             COVID-19 symptoms, including loss of sense of taste and smell. Ms. Mondragon's boyfriend
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                                         1   began experiencing symptoms immediately after Ms. Mondragon became sick herself As of

                                        2    August 10, 2020, Ms. Mondragon is still sick.

                                        3              21.   Plaintiff Raymond Valdivia is currently employed by Defendants as a Patient

                                        4    Safety Observer at RCH. Mr. Valdivia was exposed to COVID-19 at RCH during a work shift in

                                        5    May 2020, when he came into in close proximity with coworkers and patients who had contracted

                                        6    the disease. Not at this time or at any other time did Defendants, or any employee or agent of

                                        7    Defendants, warn Mr. Valdivia, in writing or by other means, ofthis exposure. On May 19, 2020,

                                        8    Mr. Valdivia began experiencing COVID-19 symptoms, primarily a cough, headache, and

                                        9    shortness of breath. On May 22, Mr. Valdivia took a COVID-19 test. The result was positive.

                                        10   On June 29, Mr. Valdivia was directed to return to work at RCH,despite still experiencing

                                        11   shortness of breath and other symptoms consistent with COVID-19. He explained and

                                        12   demonstrated these symptoms to the RCH Employee Health Department and his supervisor, but

                                        13   was told he had to work unless he tested positive for COVID-19 again. Mr. Valdivia took this

                                        14   second test, but the result did not come back until after his June 29 shift, which he ended up

                                        15   working. The result came back soon after his shift ended. It was again positive. Mr. Valdivia

                                        16   lives with his wife, who also tested positive for COVID-19. She began experiencing symptoms

                                        17   approximately three days after Mr. Valdivia.

                                        18             22.   Plaintiff Gladys Reyes is currently employed by Defendants as a Lab Assistant/

                                        19   Phlebotomist at RCH. Ms. Reyes worked in close proximity to many coworkers and patients who

                                    20       tested positive for COVID-19. Her primary assignment was to draw blood from patients located

                                    21       in RCH's three "COVID floors." Ms. Reyes herself began feeling symptoms of COVID-19 in

                                    22       June 2020, and tested positive on June 24, 2020. At no time did Defendant HCA,or any

                                    23       employee of Defendant HCA, warn Ms. Reyes, in writing or by other means, of the possibility

                                    24       that she had been exposed to COVID-19. Ms. Reyes' son, who was her sole caretaker while she

                                    25       suffered from the symptoms of COVID-19, lost his job because he had to stay home and take care

                                    26       of her.

                                    27                 23.   Plaintiff Service Employees International Union — United Healthcare Workers

                                  _ 28       West("SEIU-UHW" or "the Union") is a labor organization within.the mean i ng.of 2(5) of the
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                                          1   National Labor Relations Act("NLRA"), as amended, 29 U.S.C. Section 152(5), with its

                                         2    principal place of business in Alameda County, California. SEIU-UHW is the sole representative

                                         3    of a bargaining unit of employees working at RCH which includes three of the aforementioned

                                         4    Plaintiffs, and brings this action on behalf of its members. The Union has associational standing

                                         5    to represent its individual members' interests. (See, e.g., United Food and Commercial Workers

                                         6    Local 571 v. Brown Group, Inc. (1996)517 U.S. 544, 551-53; Hunt v. Washington State Apple

                                         7    Advertising Comm 'n (1977)432 U. S. 333, 343; Brotherhood ofTeamsters & Auto Truck Drivers

                                         8    v. Unemployment Ins. Appeals Bd.(1987) 190 Cal.App.3d 1515, 1521-22[236 Cal. Rptr. 78].)

                                         9           24.     Plaintiffs are informed and believe, and thereon allege, that Defendant HCA is a

                                         10   Delaware corporation with its principal place of business in Tennessee whose primary business is

                                         11   to operate healthcare facilities, including in the State of California and the County of Riverside.

                                         12   Plaintiffs are informed and believe, and thereon allege, that Defendant operates in California and

                                         13   Riverside County, including at RCH. At all relevant times, Defendant HCA has done business in

                                         14   California and committed the unlawful acts and omissions alleged in this complaint in California.

                                         15          25.     Plaintiffs are informed and believe, and thereon allege, that Defendant RCH is a

                                         16   limited partnership with its principal place of business in California whose primary business is to

                                         17   operate healthcare facilities in the State of California and the County of Riverside. Plaintiffs are

                                         18   informed and believe, and thereon allege, that Defendant operates in California and Riverside

                                         19   County. At all relevant times, Defendant RCH has done business in California and committed the

                                     20       unlawful acts and omissions alleged in this complaint in California.

                                     21              26.     The true names and capacities of DOES 1 through 100, inclusive, are unknown to

                                     22       Plaintiffs at this time, and Plaintiffs therefore sue such DOE Defendants under fictitious names.

                                     23       Plaintiffs are informed and believe, and thereon allege, that each Defendant designated as a DOE

                                     24       is in some manner responsible for the occurrences alleged herein, and that Plaintiffs' injuries and

                                     25       damages, as alleged herein, were proximately caused by the conduct of such DOE Defendants.

                                     26       Plaintiffs will seek leave ofthe Court to amend this complaint to allege the true names and

                                     27       capacities of such DOE Defendants when ascertained.

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                                        1          27.     Plaintiffs are informed and believe, and thereon allege, that each and every act and

                                       2    omission alleged herein was performed by, and/or attributable to, all Defendants, each acting as

                                       3    agents and/or employee of, and/or under the direction and control of, each of the other

                                       4    Defendants, and that said acts and failures to act were within the course and scope of said agency,

                                       5    employment, and/or direction and control.

                                       6           28.     As a direct and proximate result of the unlawful actions of Defendants, Plaintiffs

                                       7    have suffered, and continue to suffer, economic and other losses in amounts as yet unascertained,

                                       8    but subject to proof at trial, and within the jurisdiction ofthis Court.

                                       9                                       FACTUAL ALLEGATIONS
                                       10          29.     COVID-19 is a contagious respiratory disease that can cause fever, dry cough,

                                       11   extreme fatigue, body aches, headache, sore throat, and loss oftaste and smell, as well as

                                       12   difficulty breathing and pain or pressure on the chest. In severe cases, COVID-19 can damage

                                       13   organ systems and cause blood clots. (See https://www.nytimes.com/article/coronavirus-

                                       14   symptoms.html.) Over 169,000 people in the United States have died from COVID-19 since

                                       15   February 2020 and at least 5.4 million have been infected, although many medical experts

                                       16   estimate that the number of deaths and infections far exceed official tallies. (See

                                       17   https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/cases-in-us.html.)

                                       18          30.     As of August 17, 2020, there are 47,490 confirmed active cases of COVID-19 in

                                       19   Riverside County out of an estimated 2,470,546 total residents. There have been 912 total

                                   20       COVID-19 deaths in the County, with an additional 409 individuals currently hospitalized. (See

                                   21       https://www.rivcoph.org/coronavirus.)

                                   22              31.     COVID-19 disproportionately burdens Latinx people and other racial minorities.

                                   23       The Centers for Disease Control("CDC")attributes COVID-19's disparate racial impact in part

                                   24       to the fact that nearly a quarter of racial minorities in the United States are employed in essential

                                   25       services industries (including the healthcare industry), compared to 16% of white workers, and

                                   26       that essential workers are at increased risk of COVID-19 infection. (See

                                   27       https://www.cdc.gov/coronavirus/2019-ncov/com niu n ity/health-equity/race-ethnicity.html.)

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                                            1          32.     As of August 8, 2020, Latinx people represented 58.7% of COVID-19 cases in

                                           2    California and 46.9% of deaths, despite making up only 38.9% of the state's population. In

                                           3    Riverside County, Latinx residents have higher COVID-19 case rates and fatality rates than white

                                           4    residents. Out of every 10,000 Latinx people in the County, approximately 110 have contracted

                                           5    COVID-19, compared to only 44 out of every 10,000 white residents. (See

                                           6    https://www.cdph.ca.gov/Programs/CID/DCDC/Pages/COVID-19/Race-Ethnicity.aspx.;

                                           7    https://www.rivcoph.org/coronavirus.)

                                           8           33.     Healthcare workers face the brunt ofthis racial disparity. According to a recent

                                           9    study,"[Nealth care workers of color were more likely to care for patients with suspected or

                                           10   confirmed COVID-19, more likely to report using inadequate or reused protective gear, and

                                            i   nearly twice as likely as white colleagues to test positive for the coronavirus." While health care

                                           12   workers as a whole are at least three times more likely than the general public to report a positive

                                           13   COVID test, health care workers of color are five times more likely than the general population to

                                           14   test positive. Ultimately,62% ofthe health care workers who have died of COVID-19 have been

                                           15   members of racial minority groups. (See https://khn.org/news/health-care-workers-of-color-

                                           16   nearly-twice-as-likely-as-whites-to-get-covid-19/;

                                           17   https://www.thelancet.com/journals/lanpub/article/PHS2468-2667(20)30164-X/fulltext.)

                                           18          34.     COVID-19 is a highly contagious disease. The easiest way for COVID-19 to

                                           19   spread is through "prolonged exposure" to an infected person, especially without adequate

                                       20       covering of the eyes, nose, or mouth. The risk of infection through spread increases dramatically

                                       21       when individuals are in close physical proximity, particularly indoors and for extended periods of

                                       22       time, and when individuals come into contact with infected persons who sneeze or cough. (See

                                       23       https://www.cdc.gov/coronavirus/2019-ncov/hcp/guidance-risk-assesment-hcp.html.)

                                       24              35.     On March 4, 2020, California Governor Gavin Newsom declared a state of

                                       25       emergency and deployed resources to prevent the spread of COVID-19. On March 11, 2020, the

                                       26       World Health Organization("WHO")declared COVID-19 to be a global pandemic.

                                       27              36.     On March 12, 2020, Riverside County Public Health Officer Dr. Cameron Kaiser

                                       28       ordered "large events" to be canceled in response to the COVID-19 pandemic. On March 25,
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                                      1   2020, Riverside County received an emergency federal medical station from the U.S. Department

                                      2   of Health and Human Services for the purpose of providing 250 additional hospital beds for the

                                     3    treatment of those suffering from COVID-19. (See https://countyof-

                                     4    riverside.us/NewsHighlights/TabId/96/ArtMID/487/ArticleID/444/Riverside-County-receives-

                                     5    federal-medical-station-to-increase-hospital-capacity.aspx#gsc.tab=0.)

                                     6           37.     On March 13, 2020, the President of the United States declared a national state of

                                     7    emergency in this country as a result of the disease and it rapid spread. On the same day, Dr.

                                     8    Kaiser ordered all schools closed in Riverside County. On March 19, 2020, Governor Gavin

                                     9    Newsom issued a statewide shelter in place order, directing all California residents to stay home

                                     10   unless they worked for an "essential business" such as a hospital.

                                     11          38.     Several additional local orders followed, including the closure of all golf courses

                                     12   on April 3, and a mandatory county-wide mask and stay-at-home order on April 4. The April 4

                                     13   order was issued in response to the "rapidly rising number of COVID-19 cases" in Riverside

                                     14   County, and provided that "no gatherings of any number of people may take place outside of

                                     15   family members residing in the same home" and that "everyone [must] wear a face covering

                                     16   when leaving home,including essential workers." (See https://countyofriverside.us/News-

                                     17   Highlights/TabId/96/ArtMID/487/ArticleID/451/Riverside-County-Public-Health-0fficer-orders-

                                     18   public-to-stay-home-and-cover-face-when-leaving.aspx#gsc.tab=0.)

                                     19          39.     On May 1, Riverside County rescinded its mandatory mask and stay-at-home

                                 20       orders and reverted to the State of California stay-at-home order. On May 8, Riverside County

                                 21       entered "Phase 2" of Governor Newsom's reopening plan, which calls for "[g]radually opening

                                 22       some lower risk workplaces with adaptations at a pace designed to protect public health and

                                 23       safety." (See https://covid19.ca.gov/roadmap/.) On May 22, Riverside County accelerated into

                                 24 "expanded Phase 2" of the Governor's plan, which allowed for the reopening of certain "Dine-in"

                                 25       restaurants; Wineries and tasting rooms; Movie theaters; Family entertainment centers; Zoos and

                                 26       museums;[and] Cardrooms." However, due to a spike in COVID-19 cases, bars throughout

                                 27       Riverside County were ordered closed again on June 29, and indoor dining and other select

                                 28       indoor venues were ordered closed again on July 1. (See
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                                      1   https://www.rivcaph.org/Portals/O/Documents/CoronaVirus/June/News/Bars to close in Rivco

                                      2   062920.pdf7ver=2020-06-29-145922-447&timestamp=1593467977717;

                                      3   https://www.rivcoph.org/Portals/O/Documents/CoronaVirusauly/News/7.1.20 moving outdoors

                                     4    order.pdf?ver=2020-07-01-163235-267&timestamp=1593646371386.)

                                      5            40.      The CDC advises that limiting human-to-human contact via physical distancing, to

                                     6    the extent possible in an acute care hospital setting, is the only way to limit COVID-19 infections

                                     7    among healthcare workers and slow the spread of the disease. Preventative measures such as the

                                     8    use ofPPE and frequent handwashing and sanitization ofcommonly touched physical objects are

                                     9    also recommended. (See https://www.cdc.gov/coronavirus/2019-ncov/hcp/infection-control-

                                     10   recommendations.html.)

                                     11            41.      The CDC has recognized the heightened risks facing health care personnel
                                                     2
                                     12 ("HCP"), and has released safety guidance for employers operating healthcare facilities to

                                     13   prevent the transmission of COVID-19, including "Interim U.S. Guidance for Risk Assessment

                                     14   and Work Restrictions for Healthcare Personnel with Potential Exposure to COVID-19." (See

                                     15   https://www.cdc.gov/coronavirus/2019-ncov/hcp/guidance-risk-assesment-hcp.html.) This is in

                                     16   addition to general guidance that the CDC has issued for all businesses open during the pandemic,

                                     17   such as "Interim Guidance for Businesses and Employers to Plan and Respond to Coronavirus

                                     18   Disease 2019(COVID-19)." (See https://www.cdc.gov/coronavirus/2019-

                                     19   ncov/community/guidance-business-response.html.)

                                     20            42.      According to these guidelines, because HCP regularly come into "extensive and

                                 21       close contact with vulnerable individuals,""a conservative approach to HCP monitoring and

                                 22       applying work restrictions is recommended to prevent transmission from potentially contagious

                                 23       HCP to patients, other HCP,and visitors." The CDC recommends contact tracing and work

                                 24       restrictions for any HCP with "prolonged [a time period of 15 or more minutes] exposure to

                                 25       2 The CDC defines HCP as "all paid and unpaid persons serving in healthcare settings who have the potential for
                                          direct or indirect exposure to patients or infectious materials, including body substances (e.g., blood, tissue, and
                                 26       specific body fluids); contaminated medical supplies, devices, and equipment; contaminated environmental surfaces;
                                          or contaminated air." HCP include, but are not limited to,"emergency medical service personnel, nurses, nursing
                                 27       assistants, physicians, technicians, therapists, phlebotomists, pharmacists, students and trainees, contractual staff not
                                          employed by the healthcare facility, and persons not directly involved in patient care, but who could be exposed to
                                 28       infectious agent's that can_be.transmitted in the healthcare setting (e.g., clerical, dietary, environmental services,
NVEINI3ERG, ROGER &                       laundry, security, engineering and facilities management, administrative, billing, and volunteer personnel)."
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                                       1   patients with COVID-19 when HCP's eyes, nose, or mouth are not covered," or any exposure that

                                      2 "occurs during performance of an aerosol-generating procedure," such as those involving

                                      3    "anatomic regions where viral loads might be higher (e.g., nose and throat, oropharynx,

                                      4    respiratory tract)." The CDC also recognizes that "other exposures not included as higher risk,

                                      5    including having body contact with the patient (e.g., rolling the patient) without gown or gloves

                                      6    ... may impart some risk for transmission."

                                      7           43.     The CDC provides guidance for the health and safety of HCP in healthcare

                                      8    facilities, including "Interim Infection Prevention and Control Recommendations for Healthcare

                                      9    Personnel During the Coronavirus Disease 2019(COVID-19)Pandemic." This guidance

                                      10   includes the following instructions for hospital employees and employers:(1) wear a facemask at

                                      11   all times while in the healthcare facility, including in breakrooms or other spaces;(2) universal

                                      12   use of PPE;(3)create a process to respond to COVID-19 exposures among HCP and others;(4)

                                      13   create a plan for how exposures in a healthcare facility will be investigated and managed and how

                                      14   contact tracing will be performed. (See https://www.cdc.gov/coronavirus/2019-

                                      15   ncov/hcp/infection-control-recommendations.html.)

                                      16          44.     The CDC guidelines also provide "recommended infection prevention and control

                                      17   practices when caring for a patient with suspected or confirmed SARS-CoV-2 infection,"

                                      18   including the following:(1)personnel entering the room of a patient suffering from COVID-19

                                      19   should use PPE,in the form of a respirator or facemask, eye protection, gloves, and gowns;(2)

                                  20       once a COVID-19 patient has been discharged,"HCP,including environmental services

                                  21       personnel, should refrain from entering the vacated room until sufficient time has elapsed for

                                  22       enough air changes to remove potentially infectious particles";(3) hospital management should

                                  23       communicate information about patients with suspected or confirmed infection to appropriate

                                  24       personnel before transferring them to other departments in the facility; and (4) HCP should

                                  25       conduct routine cleaning and disinfection procedures. (See

                                  26       https://www.cdc.gov/coronavirus/2019-ncov/hcp/infection-control-recommendations.html.)

                                  27              45.     Additional guidance from the CDC includes "Interim U.S. Guidance for Risk

                                  28.      Assessment_ and Work_Restrictions for Healthcare Personnel with Potential Exposure to COVID,
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                                          I   19," which is intended to "assist with assessment of risk and application of work restrictions for

                                         2    asymptomatic healthcare personnel(HCP)with potential exposure to patients, visitors, or other

                                          3   HCP with confirmed COVID-19." The CDC recommends that any worker who comes into

                                         4    prolonged (at least 15 minutes) close (within 6 feet) contact with a patient, visitor, or coworker

                                         5    who has a confirmed case of COVID-19, and who is not wearing adequate PPE (including a mask

                                         6    and eye protection), should be excluded from work for 14 days and monitor themselves for

                                         7    symptoms. (See https://www.cdc.gov/coronavirus/2019-ncov/hcp/guidance-risk-assesment-

                                         8    hcp.html.) Meanwhile, any other HCP who develop fever or symptoms consistent with COVID-

                                         9    19 should immediately self-isolate and contact their established point of contact. (Ibid.)

                                         10          46.     For healthcare workers who have tested positive for COVID-19,the CDC provides

                                         11   "Return to Work Criteria for HCP with SARS-CoV-2 Infection." The CDC recommends a

                                         12   "symptom-based strategy for determining when HCP can return to work" and instructs HCP to

                                         13   return only when "at least 10 days have passed since symptoms first appeared; at least 24 hours

                                         14   have passed since last fever ... and; symptoms (e.g., cough, shortness of breath) have improved."

                                         15 (See https://www.cdc.gov/coronavirus/2019-ncov/hcp/return-to-

                                         16   work.html?CDC AA refVa1----https%3A%2F%2Fwww.cdc.gov%2Fcoronavirus%2F2019-

                                         17   ncov%2Fhealthcare-facilities%2Fhcp-return-work.html.)

                                         18          47.     The CDC has set out the following guidance for general industry employers when

                                         19   their workers have been exposed to COVID-19:(1)"Actively encourage sick employees to stay

                                     20       home";(2)"Separate sick employees ... Employees who appear to have symptoms upon arrival

                                     21       at work or who become sick during the day should immediately be separated from other

                                     22       employees, customers, and visitors, and sent home";(3)"Take action if an employee is suspected

                                     23       or confirmed to have COVID-19 infection ... inform employees oftheir possible exposure to

                                     24       COVID-19 in the workplace." (See https://www.cdc.gov/coronavirus/2019-

                                     25       ncov/community/guidance-business-response.html.)

                                     26              48.     Defendants have justified their actions as detailed throughout this Complaint by

                                     27       claiming that they have adhered to applicable CDC guidelines. For example, an RCH manager

                                 _ 28         told.Sally__Lara, the mother of Plaintiff Vanessa Campos Vi I I alobos, that the hospital_was meeting_
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                                            I   its CDC obligations when Ms. Lara complained that that the hospital was providing adequate PPE

                                           2    only to doctors and nurses, not the rest of the hospital staff. The CDC,however, recommends

                                            3   that PPE should be used "universally" by all HCP in a healthcare facility.

                                           4           49.     In short, Defendants HCA and RCH fell far short of the CDC recommendations.

                                           5    Defendants denied PPE to certain employees—namely EVS workers, one of whom was denied an

                                           6    N95 mask after being ordered to clean the room of a patient suffering from COVID-19. Other

                                           7    EVS workers in the Union's bargaining unit have been verbally abused by RCH supervisors in

                                           8    response to requests for masks and face shields. Defendants have also denied the requests ofEVS

                                           9    workers for gowns and hairnets. Sally Lara, mother of Plaintiff Vanessa Campos Villalobos, had

                                           10   to purchase her own masks, gowns, face shields, and booties, and had to do so repeatedly as each

                                           11   item she purchased became ineffective through continuous use. Plaintiff Ray Valdivia requested

                                           12   an N95 or equivalent mask to replace his "Level 1" cloth mask, but his request was denied.

                                           13   Workers in the hospital's Pharmacy Department, also members of the Union's bargaining unit,

                                           14   were denied masks and told to use disposable boot covers as masks.

                                           15          50.     Defendants failed to promptly inform employees such as Sally Lara and Plaintiffs

                                           16   Ray Valdivia, Vanessa Mondragon, and Gladys Reyes of possible exposure to COVID-19,

                                           17   leading these individuals to unknowingly expose their family and members of the community to

                                           18   the disease. When representatives of the Union requested during a labor-management meeting

                                           19   that Defendants explain or produce their protocol for informing employees of potential COVID-

                                       20       19 exposures, the Union received no response.

                                       21              51.    RCH managers pressured Lab Assistants such as Plaintiffs Vanessa Mondragon

                                       22       and Gladys Reyes to ignore common sense safety precautions—such as the sanitization of

                                       23       equipment required for drawing blood—in the course of their duties, even though such

                                       24       precautions are included in the CDC recommendations and were relayed to these employees by

                                       25       Defendants in training sessions.

                                       26              52.    HCA failed to carry out adequate contact tracing of workers who had exposure to

                                       27       COVID-19 or even tested positive for the disease.


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                                        1          53.     With Defendants' knowledge and approval, Plaintiff Ray Valdivia worked a shift

                                       2    at RCH on or around June 29, 2020 after he had tested positive for COVID-19 the prior month

                                       3    and while he still was suffering from symptoms consistent with COVID-19. Mr. Valdivia came

                                       4    in close contact with co-workers, patients, and visitors during this shift. At that time, Defendants

                                       5    were fully aware that the COVID-19 pandemic was raging through Riverside County and the

                                       6    hospital itself, but still decided that it was safe and prudent for Mr. Valdivia to work. This action

                                       7    clearly contravenes the CDC guidelines and common sense.

                                       8           54.     Plaintiff Vanessa Mondragon began feeling symptoms consistent with COVID-19

                                       9    on July 2 or 3, 2020,tested positive for COVID-19 on July 13, 2020, and was still feeling

                                       10   symptoms as of July 29, 2020. Despite this, Ms. Mondragon was instructed to return to work for

                                       11   her scheduled shift on July 18, 2020. Defendants informed Ms. Mondragon that she need not take

                                       12   a second COVID-19 test before returning to work. The CDC recommends that all employees,

                                       13   including HCP, not return to work if they are still feeling symptoms.

                                       14          55.     Plaintiff Gladys Reyes, who tested positive for COVID-19 on June 24, 2020, was

                                       15   instructed to return to work for her scheduled shift on July 21, 2020, despite Ms. Reyes still

                                       16   suffering from symptoms consistent with COVID-19. Defendants informed Ms. Reyes that she

                                       17   need not take a second COVID-19 test before returning to work. Ms. Reyes took a second test

                                       18   anyway, and the result was positive.

                                       19          56.     Defendants are and at all times have been aware of employees working with

                                   20       COVID-19 symptoms and testing positive for COVID-19. Despite this knowledge, Defendants

                                   21       encouraged and instructed employees with COVID-19 symptoms to come to work and failed to

                                   22       warn co-workers or institute additional precautionary measures.

                                   23              57.     Defendants are and at all times have been aware of which employees have worked

                                   24       in close contact with co-workers who were exposed to COVID-19, who displayed COVID-19

                                   25       symptoms and/or who tested positive for COVID-19. Despite this knowledge, Defendants waited

                                   26       as long as a week after learning of such exposures before telling co-workers who worked or

                                   27       socialized in close proximity with these employees.

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                                       1          58.     In one instance, Plaintiff Vanessa Mondragon was never told that she had been

                                      2    exposed to COVID-19, despite working for prolonged periods in close proximity to a coworker

                                      3    who was exp-osed to the disease, and who had received notice of possible exposure from

                                      4    Defendant RCH. When Ms. Mondragon asked her supervisor about this incident and the

                                      5    disparate treatment between her and her coworker, she was told that it was not "conclusive" that

                                      6    she had been exposed. This action, in the context of Ms. Mondragon's prolonged exposure to her

                                      7    coworker, directly contravenes CDC recommendations.

                                      8           59.     Plaintiffs Vanessa Mondragon and Gladys Reyes have been repeatedly assigned to

                                      9    draw blood from patients located in the three "COVID floors" at RCH. At times, there has been

                                      10   only one Lab Assistant/Phlebotomist covering all three of these floors. The Lab Department held

                                      11   team meetings where RCH managers instructed employees to-take certain precautions when

                                      12   drawing blood from COVID-positive patients. These precautions included handwashing,

                                      13   cleaning ofPPE,including face shields and gowns, and sanitizing all required equipment after

                                      14   drawing each patient. When workers follow all of these precautions, however, the number of

                                      15   blood draws they can take per hour decreases from approximately six (6) patients per hour to

                                      16   approximately two(2)patients per hour. RCH supervisors told Ms. Mondragon and Ms. Reyes

                                      17   that this decrease in efficiency was unacceptable, and that they need not sanitize all of their

                                      18   equipment if they could not meet the prior quota of six blood draws per hour.

                                      19          60.     Plaintiffs Ray Valdivia and Gladys Reyes were placed into prolonged close

                                  20       proximity with patients who they later found out were suffering from COVID-19. At the time,

                                  21       Mr. Valdivia and Ms. Reyes were unaware ofthese patients' COVID-positive status, and were in

                                  22       fact under the impression that these patients had been "ruled out" as COVID-negative. On at

                                  23       least one occasion, Plaintiff Vanessa Mondragon found out that a patient she had treated was

                                  24       suffering from COVID-19 after she had already drawn blood from a subsequent patient without

                                  25       first taking recommended precautions, including sanitizing her equipment and acquiring a new

                                  26       surgical gown. Ms. Mondragon has drawn blood from patients without knowing they were

                                  27       COVID-positive on multiple occasions. Sally Lara, the mother of Plaintiff Vanessa Campos

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                                            Villalobos, was often instructed to draw blood from COVID and non-CO VID patients in quick

                                       2    succession, without an opportunity to take recommended safety precautions between treatments.

                                        3          61.     Despite Defendants' knowledge ofthe COVID-19 outbreak, Defendants failed to

                                       4    take measures to prevent the spread ofthe virus among RCH employees. When the pandemic

                                       5    began, Defendants provided PPE only to workers in certain patient-facing job classifications,

                                       6    such as physicians and nurses. After workers complained about this disparate treatment,

                                       7    Defendants began providing masks, gowns,face shields, and gloves to most employees, but

                                       8    required that the equipment be used for multiple days, instructing employees re-use masks and

                                       9    gowns for two or three days at a time, causing the masks to loosen and collect moisture, and

                                       10   causing the gowns to lose elasticity and fall apart. For many EVS workers, Defendants have

                                       11   never and still do not provide adequate PPE, despite these workers being tasked with cleaning

                                       12   rooms occupied by COVID-19 patients.

                                       13          62.     While Defendants were aware that employees had tested positive for COVID-19,

                                       14   and that employees such as Plaintiff Ray Valdivia had even worked while suffering symptoms,

                                       15   Defendants did not make any effort to provide adequate PPE to all employees, to provide prompt

                                       16   warnings to co-workers, patients, or visitors with whom sick employees interacted, to perform

                                       17   contact tracing of sick employees, or otherwise to take the reasonably necessary precautions that

                                       18   Defendants knew and should have known at the time were critical to minimize the risk of

                                       19   community spread resulting from their illness and return to work.

                                   20              63.     Workers such as Sally Lara and Plaintiffs Ray Valdivia and Vanessa Mondragon

                                   21       brought repeated complaints to their respective supervisors regarding insufficient PPE, a lack of

                                   22       contact tracing, pressure to ignore recommended workplace safety precautions, and the lack of

                                   23       prompt notice of exposure. The repeated refrain from management in response to these

                                   24       complaints has been that Defendants are following CDC guidelines.

                                   25              64.     As of each employee Plaintiffs' most recent day of work at RCH,Defendants'

                                   26       workplace conditions and practices continued to be inadequate and to pose an ongoing,

                                   27       unreasonably dangerous risk and hazard to the health and safety of those Plaintiffs and all those

                                   28       who live with Plaintiffs and come into contact with Plaintiffs. Those conditions and practices
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                                     I   include but are not limited to Defendants' knowing:(1)failure to regularly provide adequate PPE

                                    2    to all employees, including adequate masks, gloves, and other protective gear;(2)failure to

                                    3    provide any PPE,including N95 masks, to EVS workers;(3)instruction to certain employees

                                    4    tasked with treating patients suffering from COVID-19 that they should ignore common sense

                                    5    precautions, including sanitization of equipment, workstations, and other physical spaces;(4)

                                    6    failure to conduct appropriate contact tracing of all persons known or suspected to have been

                                    7    infected with the COVID-19 virus, including employees;(5)failure to provide adequate warnings

                                    8 • and instruction to persons known or suspected to have come in contact with infected employees;

                                    9    and (6)instruction to certain employees who have tested positive, even those still clearly

                                    10   suffering from COVID-19 symptoms, that they should return to work.

                                    11            65.   Plaintiffs are informed and believe, and thereon allege, that Defendant HCA

                                    12   operates various other healthcare facilities in the state of California, and that the unreasonably

                                    13   dangerous practices and conditions at RCH also exist at each of those other facilities and thus

                                    14   threaten the health and safety of the public at or near those facilities and the surrounding

                                    15   communities throughout the State of California.

                                    16            66.   Pursuant to Article 33.1 of the collective bargaining agreement("CBA")between

                                    17   Plaintiff SEIU-UHW and Defendants HCA and RCH,"the Hospitals will take reasonable steps to

                                    18   provide a safe, secure, clean and therapeutic environment for patients, guests and employees ...

                                    19 [and] continue to maintain safety, conduct and workplace violence prevention policies, practices

                                20       and procedures designed to achieve these goals." Article 33.2 provides that "[n]o employee shall

                                21       be required to work under conditions that would be hazardous to the employee's physical safety

                                22       in violation of state or federal safety laws." Article 33.4 ofthe CBA states that "[d]isputes

                                23       concerning the conditions of health and safety within the Hospital shall not be subject to the

                                24       grievance and arbitration procedures of this Agreement."

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                                            1                                     FIRST CAUSE OF ACTION

                                           2            Public Nuisance — Assisting in the Creation of Substantial and Unreasonable Harm
                                                 to Public Health and Safety that Affects an Entire Community or Considerable Number of
                                           3                                               Persons
                                                                    [Cal. Civil Code §3479,3480,3491,3493; C.C.P.§ 731]
                                           4                           (Brought by All Plaintiffs Against All Defendants)
                                           5           67.     Plaintiffs incorporate herein by specific reference, as though fully set forth, the

                                           6    allegations in paragraphs 1 through 66.
                                           7           68.     California Civil Code § 3479 defines "nuisance" as "[a]nything which is injurious
                                           8    to health,... or is indecent or offensive to the senses,.. . so as to interfere with the comfortable

                                           9    enjoyment of life or property."
                                           10          69.     California Civil Code § 3480 defines "public nuisance" as any nuisance that
                                           11   "affects at the same time an entire community or neighborhood, or any considerable number of
                                           12   persons, although the extent ofthe annoyance or damage inflicted upon individuals may be
                                           13   unequal."
                                           14          70.     To constitute a "public nuisance," the offense against, or interference with the

                                           15   exercise of rights common to the public must be substantial and unreasonable. (People ex rel.

                                           16   Gallo v. Acuna(1997) 14 Ca1.4th 1090, 1103, 1105.)
                                           17          71.     The acts and omissions of Defendants alleged herein, which caused a considerable
                                           18   number of persons to suffer increased exposures and risks of exposures to the COVID-19 virus,

                                           19   including, but not limited to, employees, patients, and visitors of RCH,family members ofthose
                                       20       employees, patients, and visitors, persons with whom those individuals resided, and the persons
                                       21       with whom those individuals came into contact, substantially and unreasonably created and
                                       22       substantially assisted in the creation of a grave risk to public health and safety, and wrongfully
                                       23       and unduly interfered with Plaintiffs' comfortable enjoyment of their lives and property. (See
                                       24       County ofSanta Clara v. Atlantic Richfield Co.(2006) 137 Cal.App.4th 292, 305-06.)
                                       25              72.     The acts and omissions of Defendants alleged herein substantially and
                                       26       unreasonably created or assisted in the creation of the spread and transmission of grave, life-
                                       27       threatening disease and infection, the risk of spread and transmission of grave, life-threatening
                                       28       disease and infection,.and.the_actual and real fear and anxiety of the spread and transmission of
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                                         1   grave, life-threatening disease and infection, all of which constitutes an actionable public

                                        2    nuisance. (See, e.g., Restatement(Second)of Torts § 821B & cmt. g ["[T]he threat of

                                        3    communication of smallpox to a single person may be enough to constitute a public nuisance

                                        4    because of the possibility of an epidemic; and a fire hazard to one adjoining landowner may be a

                                        5    public nuisance because of the danger of a conflagration."]; Birke v. Oakwood Worldwide (2009)

                                        6    169 Cal.App.4th 1540, 1546; County ofSanta Clara v. Atlantic Richfield Co.(2006) 137

                                        7    Cal.App.4th 292, 306.)

                                        8           73.     The public nuisance caused by Defendants as alleged herein has caused and will

                                        9    continue to cause special injury to Plaintiffs within the meaning of Civil Code § 3493, due to the

                                        10   infections suffered by three of the five Plaintiffs, the heightened risk of exposures they faced, the

                                        11   lost income they suffered as a result of having to stay home from work, the increased anxiety and

                                        12   fear caused by their need to separate themselves from fellow workers and close family members

                                        13   to minimize the risk offurther community spread, and, in the case of Ms. Campos Villalobos, the

                                        14   tragic death of her mother and related financial and emotional losses. Those harms are different

                                        15   from the types of harms suffered by members of the general public who did not work or have

                                        16   direct contact with employees who worked at RCH where multiple employees contracted

                                        17   COVID-19.

                                        18          74.     California Code of Civil Procedure § 731 and California Civil Code §§ 3491,

                                        19   3493, and 3495 authorize Plaintiffs to bring this action for damages.

                                    20              75.     Defendants' failure to comply with minimum health and safety standards has

                                    21       caused, and is reasonably certain to cause, community spread of the COVID-19 infection. Such

                                    22       community spread has not been, and will not be, limited to the physical location ofthe hospital or

                                    23       to the employees, patients, and visitors of the hospital, as infected workers have gone home and

                                    24       will go home to interact with their family members, neighbors, and others with whom they must

                                    25       necessarily interact as they undertake essential daily activities such as shopping, medical visits,

                                    26       and childcare. This community spread has resulted in increased disease and will continue to

                                    27       result in increased disease.

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                                            1            76.    Defendants' conduct as alleged herein unreasonably interferes with the common

                                           2    public right to public health and safety.

                                           3             77.    Administrative and governmental remedies have proven inadequate to protect

                                           4    Plaintiffs from the harms alleged in this complaint and the wrongful conduct by Defendants

                                           5    alleged in this complaint. OSHA and Cal/OSHA,the principal government agencies tasked with

                                           6    ensuring workplace safety, have deprioritized inspections and enforcement. The CDC,while able

                                           7    to issue recommendations, does not have or exercise enforcement authority against employers

                                           8    that fail to follow those recommendations. Workers in similar situations to Plaintiffs have

                                           9    submitted complaints to public authorities about the public nuisance and public health and safety

                                           10   dangers resulting from their employers' acts and omissions, but have been unable to obtain

                                           11   adequate relief.

                                           12            78.    All Defendants are a substantial contributor to the public nuisance alleged herein.

                                           13            79.    All Defendants' past and ongoing conduct is a direct and proximate cause of the

                                           14   Plaintiffs' injuries and threatened injuries.

                                           15            80.    All Defendants know and should have known that their conduct as alleged herein

                                           16   would be the direct and proximate cause of the injuries alleged herein to Plaintiffs.

                                           17            81.    Defendants' conduct as alleged herein constitutes a substantial and unreasonable

                                           18   interference with and obstruction of public rights and property, including the public rights to

                                           19   health, safety and welfare of the Plaintiffs, and those who come in contact with them, whose

                                       20       safety and lives are at risk due to Defendants' failure to adopt and implement proper procedures

                                       21       for protecting workers, patients, visitors, and others from exposure to the COVID-19 virus.

                                       22                82.    Defendants have committed and continue to commit the acts alleged herein

                                       23       knowingly and willfully.

                                       24                83.    As a proximate result of Defendants' unlawful actions and omissions, Plaintiffs

                                       25       have been damaged in an amount according to proof at trial.

                                       26       / // /

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                                       1                                   SECOND CAUSE OF ACTION

                                      2                              Unfair and Unlawful Business Practices
                                                                    [Cal. Bus.& Prof. Code §§ 17200 et seq.]
                                       3                        (Brought by All Plaintiffs Against All Defendants)

                                      4           84.     Plaintiffs incorporate herein by specific reference, as though fully set forth, the

                                      5    allegations in paragraphs 1 through 83.

                                      6           85.     Defendants' acts and omissions constituting a public nuisance as alleged herein

                                      7    also constitute unfair and unlawful business practices under California Business and Professions

                                      8    Code §§ 17200 et seq.

                                      9           86.     Defendants' aforementioned acts and omissions constitute business practices in

                                      10   that Defendants have engaged in them repeatedly over a significant period of time and in a

                                      11   systematic manner, to the detriment of the three individual Plaintiffs who are currently employees

                                      12   of Defendants and to Defendants' economic benefit.

                                      13          87.     Defendants' aforementioned acts and omissions have caused economic injury to

                                      14   the three individual Plaintiffs who are employees of Defendant, including but not limited to

                                      15   medical expenses and cost of health care supplies and PPE.

                                      16          88.     Defendants' acts and omissions also violated CDC recommendations. Defendants

                                      17   failed to provide adequate and appropriate PPE to all employees; failed to prohibit employees

                                      18   from entering the hospital if they had COVID-19 symptoms; allowed employees who were sick

                                      19   or symptomatic, or who had been in close prolonged contact with others who were sick or

                                  20       symptomatic to report for work, as opposed to remaining at home and monitoring for COVID-19

                                  21       symptoms; and directed employees tasked with the treatment of employees suffering from

                                  22       COVID-19 to ignore common sense precautions, such as thoroughly and regularly cleaning and

                                  23       disinfecting commonly used surfaces and areas and cleaning and sanitizing all shared equipment

                                  24       and touchable surfaces between uses.

                                  25              89.     Defendants' actions also constitute "unfair" business practices because they have

                                  26       caused employees of RCH,as well as those employees' family members and other members of

                                  27       the community, to contract COVID-19 infections that could have been avoided through

                                  28       reasonably safe practices.
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                                           1          90.     As a result of Defendants' unfair and unlawful business practices, especially their

                                          2    practices of pressuring employees who are suffering from COVID-19 symptoms to return to work

                                          3    and directing employees to ignore common sense safety precautions for purposes of meeting

                                          4    treatment "quotas," Defendants have gained an unfair competitive advantage that they would not

                                          5    have if they adequately protected the health and safety of their employees, patients, visitors, and

                                          6    the public, and have reaped and continue to reap unfair and illegal profits at the expense of

                                          7    Plaintiffs and members of the public. Defendants should be made to disgorge their ill-gotten

                                          8    gains and to restore them to Plaintiffs.

                                          9           91.     As a result of Defendants' unfair and unlawful business practices, Plaintiffs have

                                          10   lost money or property. At least two Plaintiffs have been repeatedly required to purchase their

                                          11   own PPE,including masks, gowns,face shields, and booties. Other Plaintiffs lost out on wages

                                          12   because they contracted COVID-19 as a result of Defendants' insufficient safety practices and

                                          13   had to miss substantial amounts of work.

                                          14          92.     Defendants' unfair and unlawful business practices entitle Plaintiffs to seek

                                          15   disgorgement of profits, interest, penalties, attorneys' fees and expenses pursuant to Code of Civil

                                          16   Procedure § 1021.5, and costs of suit.

                                          17                                     THIRD CAUSE OF ACTION
                                          18                                           Negligence
                                                                                 [Cal. Civ. Code §17141
                                          19           (Brought by Plaintiffs Vanessa Campos Villalobos Against All Defendants)
                                      20              93.     Plaintiffs incorporate herein by specific reference as though fully set forth the

                                      21       allegations in paragraphs 1 through 92.

                                      22              94.     The illness and eventual death of Sally Lara from COVID-19 was a direct and

                                      23       legal result of Defendants' negligence and/or unlawfulness. After Sally Lara contracted COVID-

                                      24       19, everyone who lived in Ms. Lara's household, including Plaintiff Vanessa Campos Villalobos,

                                      25       was exposed to COVID-19 and had a reasonable fear of contracting COVID-19 and suffering

                                      26       related symptoms.

                                      27              95.     Defendants owed a duty of care to Plaintiff Vanessa Campos Villalobos under Cal

                                      28       Civ. Code §1714 as a member of Sally Lara's household. Where it is reasonably foreseeable that
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                                          1   workers, or their clothing and/or personal effects, will act as vectors carrying an infectious

                                          2   disease from the workplace to the worker's home, employers have a duty to reasonably care to

                                          3   prevent this means of transmission. This duty extends to all members of the worker's household.

                                         4 (See Kesner v. Superior Court(2016) 1 Cal. 5th 1132.)

                                         5           96.      Defendants breached their respective duties owed individually to Plaintiff Vanessa

                                         6    Campos and collectively to all members of Sally Lara's household by:(1)failing to provide Ms.

                                         7    Lara with sufficient and/or adequate PPE,forcing Ms. Lara to purchase her own PPE,including a

                                         8    mask and gown, and re-use this equipment past the point to which it was effective;(2)instructing

                                         9    Ms. Lara to treat patients suffering from COVID-19 without informing Ms. Lara ahead of time of

                                         10   these patients' COVID-19 status;(3) instructing Ms. Lara to treat COVID-19 patients

                                         11   immediately after she treated non-COVID-19 patients, without giving Ms. Lara sufficient time to

                                         12   take CDC-recommended precautions; and (4)failing to promptly inform Ms. Lara of incidents

                                         13   where she may have been exposed to COVID-19.

                                         14          97.      As a direct and legal result of Defendants' actions and/or omissions, Plaintiff

                                         15   Vanessa Campos Villalobos was injured in her health, strength, and/or activity in an amount

                                         16   according to proof at trial. Additionally and/or alternatively, Ms. Campos Villalobos, along with

                                         17   all other members of Sally Lara's household, suffered a reasonable fear of contracting COVID-19

                                         18   and experiencing COVID-19 related symptoms. (See, e.g., Potter v. Firestone Tire & Rubber Co.

                                         19 (1993)6 Ca1.4th 965; Kerins v. Hartley(1994)27 Cal. App. 4th 1062 [reasonable fear of

                                     20       contracting a disease is a compensable injury].)

                                     21              98.      As a further direct and legal result of Defendants' actions and/or omissions,

                                     22       Plaintiff Vanessa Campos Villalobos has suffered and/or continues to suffer great mental pain and

                                     23       suffering, including worry, emotional distress, anguish, anxiety, and/or nervousness in an amount

                                     24       according to proof at trial.

                                     25              99.      The potential harm to Plaintiff Vanessa Campos Villalobos and other members of

                                     26       Sally Lara's household as a result of Ms. Lara's exposure to COVID-19 was reasonably

                                     27       foreseeable to Defendants. It is widely known that COVID-19 is an extremely contagious disease

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                                      1   that spreads especially easily among those living in the same household. Moreover, Defendants

                                     2    have specific medical knowledge beyond that of the general public.

                                     3            100.   As set forth above and will be shown by proof, there is a high degree of certainty

                                     4    that Plaintiff Vanessa Campos Villalobos has suffered those injuries and damages, and that there

                                     5    is an extremely close connection between those injuries and damages and Defendants' negligent

                                     6    conduct. The case law cited above as well as the public policy of preventing future harms

                                     7    justifies both the recognition of the existence of a duty of care owed by Defendants to all

                                     8    members of Sally Lara's household, including Plaintiff Vanessa Campos Villalobos, and the

                                     9    imposition of the damages described above.

                                     10                                   FOURTH CAUSE OF ACTION
                                     11                           Negligent Infliction of Emotional Distress
                                                  (Brought by Plaintiffs Vanessa Campos Villalobos against All Defendants)
                                     12
                                                  101.   Plaintiffs incorporate herein by specific reference as through fully set forth the
                                     13
                                          allegations in Paragraphs 1 through 100.
                                     14
                                                  102.   As set forth above, the suffering and eventual death of Sally Lara from COVID-19
                                     15
                                          was a direct and legal result of the negligence, carelessness, recklessness, and/or unlawfulness of
                                     16
                                          Defendants, and/or each ofthem.
                                     17
                                                  103.   As a result ofthe wrongful acts and/or omissions of Defendants, Plaintiff Vanessa
                                     18
                                          Campos Villalobos suffered serious emotional distress. Defendants owed a duty to all members
                                     19
                                          of Sally Lara's household, including Ms. Campos Villalobos, to take reasonable care to prevent
                                     20
                                          transmission of COVID-19,and knew or should have known that Ms. Villalobos would suffer
                                 21
                                          such distress during and as a result of her mother's illness and death. Defendants' wrongful acts
                                 22
                                          and/or omissions were thus a substantial factor in causing Ms. Villalobos' serious emotional
                                 23
                                          distress. (See, e.g., Marlene F. v. Affiliated Psychiatric Medical Clinic, Inc.(1989)48 Ca1.3d
                                 24
                                          583, 590.)
                                 25
                                                  104.   Additionally and/or alternatively, after the wrongful acts and/or omissions of
                                 26
                                          Defendants resulted in Sally Lara's contraction of COVID-19, Plaintiff Vanessa Campos
                                 27
                                          Villalobos had to go through the horrific and traumatic experience of watching Ms. Lara spend
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     •                           28                                                                  .        . .        _.
‘VEINBERG, ROGER &                        two weeks on a ventilator and then tragicalbi die. Defendants' wrongful acts and/or omissions
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                                          1   were thus a substantial factor in causing Ms. Campos Villalobos' emotional distress. (See, e.g.,

                                         2    Thing v. La Chusa(1989)48 Ca1.3d 644.)

                                         3            105.   As a direct and legal result of the wrongful acts and/or omissions of Defendants,

                                         4    Plaintiff Vanessa Campos Villalobos has suffered and will continue to suffer great mental pain

                                         5    and suffering, including emotional suffering, anguish, nervousness, grief, anxiety, worry, shock,

                                         6    and/or other emotional distress in an amount according to proof at trial.

                                         7                                       FIFTH CAUSE OF ACTION
                                         8                                       Declaratory Judgment
                                                                              [Cal. C.C.P. §1060 et seq.]
                                         9                          (Brought by All Plaintiffs Against All Defendants)
                                         10           106.   Plaintiffs incorporate herein by specific reference as though fully set forth the

                                         11   allegations in paragraphs 1 through 105.

                                         12           107.   An actual controversy has arisen and now exists between the parties relating to the

                                         13   legal rights and duties of the parties as set forth above, for which Plaintiffs desire a declaration of

                                         14   rights and other relief available pursuant to the California Declaratory Judgment Act, C.C.P. §

                                         15   1060 et seq.

                                         16           108.   A declaratory judgment is necessary and proper in that Plaintiffs contend that

                                         17   Defendants have committed and continues to commit the violations set forth above and

                                         18   Defendants, on information and belief, will deny that they have done so and/or that they will

                                         19   continue to do so.

                                         20                                        PRAYER FOR RELIEF
                                     21              WHEREFORE,Plaintiffs, individually and on behalf of all other persons similarly

                                     22       situated, respectfully pray for relief against Defendants and DOES 1 through 100, inclusive, and

                                     23       each of them, as follows:

                                     24              1.      For a declaration that Defendants have committed a public nuisance and unfair

                                     25       business practices by the wrongful acts, omissions, and practices alleged herein whose

                                     26       commission and omission constitute a public nuisance and unfair business practices;

                                     27              2.      For compensatory damages in an amount to be ascertained at trial;

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                                         1           3.     For restitution of all monies due to Plaintiffs as well as disgorged profits from the

                                         2   unfair and unlawful business practices of Defendants;

                                         3           4.    For penalties available under the law;

                                        4            5.    For reasonable attorneys' fees and costs pursuant to California Code of Civil

                                         5   Procedure § 1021.5, and/or any other applicable provisions providing for attorneys' fees and

                                        6    costs; and

                                        7            6.    For such further relief that the Court may deem just and proper.

                                        8    Dated: August 19, 2020                         WEINBERG,ROGER & ROSENFELD
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                                                                                    By:         Bruce A. Harland
                                        11                                                      William T. Hanley
                                        12                                                  Attorneys for Plaintiffs
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                                        13                                                  UNION — UNITED HEALTHCARE WORKERS
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